883 F.2d 74
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Jeffrey A. GONZALES, Plaintiff-Appellant,v.Richard I. COOPER, Judge, Defendant-Appellee.
    No. 89-1719.
    United States Court of Appeals, Sixth Circuit.
    Aug. 21, 1989.
    
      1
      Before KEITH and BOYCE F. MARTIN, Jr., Circuit Judges, and JULIA S. GIBBONS, District Judge*.
    
    ORDER
    
      2
      This court entered an order on July 3, 1989, directing the appellant to show cause within twenty-one days why the appeal should not be dismissed for lack of jurisdiction because of a late notice of appeal.  Appellant has failed to respond.
    
    
      3
      It appears from the record that the judgment was entered October 21, 1988.  The notice of appeal filed on May 30, 1989 was over six months late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      4
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.    McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Denley v. Shearson/American Express, Inc., 733 F.2d 39, 41 (6th Cir.1984) (per curiam);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      5
      Accordingly, it is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable JULIA S. GIBBONS, U.S. District Judge for the Eastern District of Tennessee, sitting by designation
      
    
    